Case 2:11-CV-06113-.]FW-AGR Document 1 Filed 07/25/11 Page 1 of 22 Page |D #:5

1 MichaelD. Anderson Esq. [SBN194493]

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AND RS()N & ASSOCIATES

 

 

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140 S. Lake Avenue, Su1te 372 .‘E €~i.;;. ;:
3 Pasadena California 91101 fm
Tel: (626 449- 8131 j 533 ,,
4 Fax: (62 )449-8041 1 w §
1 , C.r'"‘e
5 Attorney for Pla11111ff *' § »11 25
ALEXANDRE SINIOUGUINE i;j;; 'a 111 ’"
6 1 1‘:».>
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8 UNITED STATES DISTRICT C()UAT
9 CENTRAL DISTRICT OF CALIFORNIA
1()
11 ALEXANDRE SINICUGUINE, ) § 111 §
1nd1v1c1u311y, § . 1 1 §§ § §:§11§ § § §W(M%&
12 §
Plaintiff, ) PLAINTIFF’@S COMPLAINT FOR:
13
v. § 1. COPYRIGHT
14 ) INFRINGEMENT
) 2. ACC()UNTING
15 MEDIACHASE, LTD. aDelaWare ) 3. DECLARATORY RELIEF
corpo_ration; CHRIS LUTZ ) 4. DEMAND F()R JURY TRIAL
16 111d1v1d111111y- ,JULIE MAGB<)J<)S 16 )
1nd1v1dua11y; and DOES 1 through 219, )
17 inclusive )
18 Defendants. §
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Plaintiff, ALEXANDRE SINIOUGUINE (“Plaintiff’ or “SlNl()UGUlNE”),

by and through his undersigned counsel of record, alleges as follows:

JURISDICTIGN AND VENUE

l. This is an action for copyright infringement of a computer software
program authored and owned by Plaintiff and is brought under the federal Copyright
Act of1976, as amended, 17 U.S.C.A. §§ 101 et seq. This court hasjurisdiction
pursuant to 28 U.S.C.A. §l338(a).

2. Venue lies in the Central District of California and is conferred by 28
U.S.C.A. §§ 1391(0) and l400(a), as Defendants and their agents do business, reside
and may be found in this district.

PARTIES

3. Plaintiff SINIOUGUINE is now, and at all times mentioned in this

complaint was, a resident of the County of Los Angeles, in the State of California.

4. Plaintiff is informed and believes and thereon alleges that Defendant
MEDIACHASE, LTD. (hereinafter “MEDIACHASE”) is noW, and at all times
mentioned in this complaint was, a corporation organized and existing under the laws
of the State of Delaware with its principal place of business at 8447 Wilshire
Boulevard, Suite 201, Beverly Hills, CA 90211. Plaintiff is further informed and
believes and thereon alleges that Defendant l\/IEDlACHASE is engaged in the
business of reproducing, selling and distributing, among other things, computer

software, primarily through its website, “www.mediachase.com.”

5. Plaintiff is informed and believes and thereon alleges that Defendant

 

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CHRIS LUTZ (hereinafter “LUTZ”) is now, and at all times mentioned in this
complaint was, a resident of the State of California, County of Los Angeles. Plaintiff

further alleges that LUTZ is, and at all times mentioned in this complaint was, a
principal and/or agent of MEDIACHASE.

6. Plaintiff is informed and believes and thereon alleges that Defendant JULIE
l\/IAGBOJOS (hereinafter “l\/IAGBOJOS”) is now, and at all times mentioned in this
complaint was, a resident of the State of California, County of Los Angeles. Plaintiff
further alleges that MAGBOJGS is, and at all times mentioned in this complaint was,
a principal and/or agent of l\/IEDIACHASE.

7. The true names and capacities, whether individu|aal, corporate, associate or
otherwise, of defendants sued herein as DOES 1 through B, inclusive, are unknown
to Plaintiff who therefore sues those defendants by such fictitious names. Plaintiff
will amend
this complaint to insert the true names and capacities of such DOE defendants when

the same have been ascertained

8. Plaintiff is informed and believes, and thereon alleges that each defendant
designated herein as a DOE is responsible in some manner for the occurrences and
events herein alleged and that Plaintiff’ s damages were proximately caused by their

conduct.

9. Plaintiff is informed and believcs, and thereon alleges that unless otherwise
specifically mentioned, each defendant Was an agent and/or employee of each of the
remaining defendants, and that in doing the things complained of herein was acting

within the course and scope of such agency and/or employment

 

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10. Defendants MEDIACHASE, LUTZ, l\/IAGBOJOS and DOES 1 through

20, inclusive are hereinafter collectively referred to as “Defendants.”

FACTS COl\/IMON TO ALL CLAIMS FOR RELIEF

11. This action concerns the unlawful reproduction, marketing, distribution
and sale of, among others, the computer software most commonly referred to as
eCommerce Framework and all of its versions and derivatives (hereinafter “ECF”).
ECF was the original effort of Plaintiff and represented the use of his skill, judgment
and labor, and as such is an original work of authorship, suitable for copyright

protection as a literary work under United States copyright laws.

12. Plaintiff SINIOUGUINE is a creator and designer of computer software
Sometime in 2004, Plaintiff authored and created an original computer program
most commonly referred to as ECF. The rights of reproduction, preparation of

derivative works, and sale and distribution of copies of ECF all belong exclusively to

Plaintiff SINIOUGUINE as author and creator of the software

13. On August ll, 2004, Plaintiff fixed ECF in a tangible form as a ZlP file,
stored on the hard drive of Plaintiff’s personal computer Since then, from 2004
through and including March 2011, Plaintiff has tirelessly continued to develop,
modify and program ECF, ultimately authoring, creating, designing, developing and
programming all other versions, the most recent being version 5.2 (hereinafter “ECF

5.2"), completed in March of 201 1.

14. On June 29, 2011, Plaintiff SINIOUGUINE applied online for copyright
registration with the United States Copyright Office for the software ECF, a true and

correct copy of which is attached as Exhibit A and incorporated by reference The

 

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Copyright Office received this application, and sent Plaintiff via email an
Acknowledgment of Receipt, a true and correct copy of which is attached as Exhibit

B and incorporated by reference

15. Plaintiff SINI()UGUINE alleges on information and belief that on or
about 2004, Defendants, and each of them, began marketing, reproducing, selling
and distributing a ZlP file containing software identical to ECF as originally
authored and created by Plaintiff. Plaintiff is informed and believes on thereon
alleges that by l\/Iarch 2011, Defendants, and each of them, were earning
approximately $200,000.00 - $250,000.00 per month from the marking,
reproduction, sale and distribution of ECF. Defendants, and each of them, have kept

and continue to keep all profits and proceeds resulting from their unauthorized use

and sale of ECF.

16. On or about March 18, 2011, Plaintiff SlNlOUGlNE issued a cease and
desist letter to Defendant LUTZ, notifying Defendant LUTZ that Defendants, and
each of them, have infringed, and are infringing, the copyright of Plaintiff.

17. Thereafter, Defendants, and each of them, knowingly and willfully
infringed, and continue to infringe, Plaintiff SINI()UGUINE’s copyrights by
continuing to reproduce, sell, offer for sale, and distribute ECF within the United
States and elsewhere without Plaintiff s lawful permission and in complete disregard

of Plaintiff s rights.

18. Cn l\/larch 31, 2011, Defendant MEDIACHASE registered ECF with the
United States Copyright Office. In that registration, Defendant MEDIACHASE
falsely and illegally represented that Defendant MEDIACHASE is the owner and
author of the copyright for ECF, despite knowing that Plaintiff SlNlOUGUlNE was

 

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the copyright author and owner.

19. ln doing these wrongful acts, Defendants, and each of them, have been
guilty of malice, oppression, fraud and willful disregard of Plaintiff

siNiouGUiNE’S righrs.

FIRST CLAIM FOR COPYRIGHT INFRINGEMENT
(Against All Defendants)

20. Plaintiff SINIOUGUINE realleges and fully incorporates herein by

reference each and every allegation contained in Paragraphs 1 through 19, inclusive

21. ECF was created independently in 2004. ECF is a wholly original end-to-
end .NET development framework, tailored for ecommerce purposes. The software
provides a framework that programmers can build upon based on a business’s
specific needs. As an original work of authorship, the software ECF is within the

subject matter of copyright

22. Plaintiff SINIOUGUINE authored and created ECF in 2004. On or about
August 11, 2204, Plaintiff fixed ECF in a tangible form as a ZIP file on the hard
drive of Plaintiff’ s personal computer. Plaintiff applied for registration for ECF, and
deposited a copy of ECF, with the United States Copyright Office on June 29, 201 1.
ln doing so, Plaintiff has complied with the Copyright Act’s requirements of fixation,

registration, and deposit with respect to ECF.

23. As author and creator of ECF, Plaintiff SINIOUGUINE is the legal and
equitable owner of all of the copyright in ECF.

 

 

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24. By the actions alleged above, Defendants, and each of them, have
willfully infringed and will continue to infringe upon Plaintiff SINIOUGUINE’s
rights in and related to the software ECF and its derivatives by marketing,
reproducing, selling and distributing copies of ECF without Plaintiff
SINIOUGUINE’s lawful authorization or consent and by unlawfully registering ECF
with the United States Copyright Office, falsely claiming Defendant l\/IEDlACHASE

as the author and owner of ECF.

25. The willful and wrongful conduct of Defendants, and each of them,
diminish the revenues which Plaintiff would otherwise receive from his authorized
exploitation of such programs; it causes harm, damage and injury to Plaintiff’ s
reputation in Defendants’ failure to properly credit Plaintiff SINIOUGUINE as
author and owner of ECF; and it has and will continue to injure Plaintiff s relations

with present and prospective customers l\/luch of this damage is irreparable

26. Plaintiff SINIOUGUINE has no adequate remedy at law to redress all of
the injuries that Defendants have caused, intend to cause, and continue to cause by
their willful and wrongful conduct. Plaintiff Will continue to suffer irreparable
damages and sustain lost profits until Defendants’ actions as alleged herein are

enjoined by this Court. This Court is authorized to enjoin Defendants under 17
U.S.C.A. § 502.

SECOND CLAIM F()R ACCOUNTING
(Against All Defendants)

27. Plaintiff SINIOUGUINE realleges and fully incorporates herein by
reference each and every allegation contained in Paragraphs 1 through 19, inclusive,

and Paragraphs 21 through 26, inclusive, of the First Cause of Action.

 

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28. Plaintiff SINIOUGUINE alleges on information and belief that on or
about 2004, Defendants, and each of them, began marketing, reproducing, selling
and distributing ECF as a ZlP file via Defendant MEDIACHASE’s website,
“www.mediachase.com;” beginning in 2008, via the Amazon Simple Storage Service
website (hereinafter “Amazon S3"); and possibly through other venues and means
that Plaintiff is not aware of at this time These ZlP files contained ECF, the creation
and work of Plaintiff SINIOUGUINE.

29. Defendants, and each of them, have at all times kept, and continue to keep,
all profits and proceeds from the unauthorized marketing, reproduction, sale and
distribution of ECF for themselves. Defendants have refused and continue to refuse

to account for, or pay to, Plaintiff amounts due to him as owner, author and creator of

ECF.

30. The exact amount of monies received and profits gained by Defendants,
and each of them, since 2004 is unknown to Plaintiff and can only be determined by

an accounting

THIRD CLAIl\/I FOR DECLARATORY RELIEF
(Against All Defendants)

31. Plaintiff SINIOUGUINE realleges and fully incorporates herein by
reference each and every allegation contained in Paragraphs 1 through 19, inclusive
and Paragraphs 21 through 26, inclusive of the First Cause of Action, and Paragraph
28 through 30, inclusive, of the Second Cause of Action.

32. Despite having knowledge that Plaintiff SINIOUGUINE authored and

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created the ECF software in 2004 as well as subsequent versions, and fixed the ECF
software as a ZIP file as early as August 11, 2004 Defendants, and each of them,
after receipt of Plaintiff s cease and desist letter, registered ECF with the United
States Copyright Office on l\/larch 31, 2011, falsely and illegally representing
Defendant MEDIACHASE as the author and creator of ECF.

33. Pursuant to 28 U.S.C.A. § 2201, Plaintiff SINIOUGUINE is entitled to
declaratory relief, declaring Plaintiff as the true and rightful owner of the copyright
of ECF and holder of all rights and interests related to ECF.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff SlNlOUGUINE requests judgment against

Defendants, and each of them, as follows:

AS T() THE FIRST CLAIM FOR RELIEF FOR COPYRIGHT
INFRINGEMENT:

1. Actual damages suffered by Plaintiff as a result of the infringement of
Defendants, in an amount to be determined according to proof at trial, and/or
statutory damages pursuant to 17 U.S.C.A. §504(c) based upon Defendants’ willful

acts of infringement;

2. Damages suffered by Plaintiff SINIGUGUINE of, all profits

derived by Defendants as a result of their infringement of Plaintiff’s copyrights;

3. Declaratory rclief, pursuant to 28 U.S.C.A. § 2201(a), declaring Plaintiff
as the true and rightful owner of the copyright of the software ECF and holder of all

 

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rights and interests related to ECF;

4. A permanent injunction, pursuant to 17 U.S.C.A. § 502, enjoining the
Defendants and their agents, servants and employees from infringing in any manner
the copyrights of Plaintiff SlNlOUGUINE in the software ECF and from publishing,
producing, selling, marketing, preparing derivative works of, and distributing any

copies of any version of the software ECF following a final decision in this action;

5. Pursuant to 17 U.S.C.A. § 503(b), the delivery by Defendants, their agents,
employees and all holding with, through, or under them, or anyone acting on their
behalf, for destruction following a final decision in this action, of all infringing

copies or devices, as well as all and any means for making infringing copies.

AS TO THE SECOND CLAIl\/I F()R RELIEF F()R AN ACCGUNTING:

1. An accounting for, and payment to Plaintiff SINIOUGUINE of, all
payments, royalties and/or profits and advantages derived by Defendants as a result

of their infringement of Plaintiff’ s copyrights

AS TO THE THIRD CLAIM FOR DECLARATORY RELIEF:
1. Declaratory relief, pursuant to 28 U.S.C.A. § 2201(a), declaring Plaintiff
as the
true and rightful owner of the copyright of the software ECF and holder of all rights
and interests related to ECF.

()N ALL CAUSES ()F ACTI()N:

1. Reasonable attorneys fees;

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DATED; july 93 ,2011

 

2. The costs of this action; and

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3. Such other and further relief as the court deems proper.

Respectfully submitted,

    

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j FLAEL D. ANDERsoN
At orney for Plaintiff
ALEXANDRE SINIOUGUINE

 

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DEl\/IAND FOR JURY TRIAL

4th

Pursuant to Rule 38 of the F ederal Rules of Civil Procedure, Plaintiff hereby

demands ajury trial of all issues raised in this Complaint.

DATED; :l\)l» 93 ,zc)ii

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Exhibit A

f j Case 2:11-cV-06113-.]FW-AGR Document 1 Filed 07/25/11 Page 14 of 22 Page |D #:18

*-APPLICATION-*

 

Tit|e

Title of Work: eCommerce F ramework

Previous or Alternative Title:

ECF

.NET eCommerce Framework

ASP.NET cCommerce Framework

eCommerce Framework 1.0
eCommerce Framework 2.0
eCommerce Framework 3.0
eCommerce Framework 3.1
eCommerce Framework 4.0
eCommerce Framework 4.1
eCommerce Frarnework 4.2
eCommerce Framework 5.0
eCommerce Framework 5.1
eCommerce Framework 5.2

eCommerce Framework G5

 

Comp|etion/ Pub|ication
Year of Completion:

Date of lst Publication:

2004
August ll, 2004

Nation of lst Publication: United States

 

 

Author
' Author: Alexandre Siniouguine
Author Created: text, computer program
Work made for hire: No
Citizen of: Russia (Federation) Domiciled in: United States
Year Born: 1979
Copyright claimant

Page l of 2

f Case 2:11-cV-06113-.]FW-AGR Document 1 Filed 07/25/11 Page 15 of 22 Page |D #:19

Copyright Claimant:

Limitation of copyright claim

Material excluded from this claim:

Previous registration and year:

New material included in claim:

Rights and Permissions

Name:

Email:

Address:

Alexandre Siniouguine

801 N. Fairfax Ave PH2, Los Angelcs, CA, 90046, United States

 

artwork

TX0007329315 2011

text, computer program

 

Alexandre Siniouguine
sasha.la@gmail.com

801 N. Fairfax Ave PHZ

Los Angeles, CA 90046 United States

Telephone:

323-788-0902

 

Certification

Name:

Date:

Alexandre Siniouguirie

.lune 29, 2011

 

Case 2:11-cV-06113-.]FW-AGR Document 1 Filed 07/25/11 Page 16 of 22 Page |D #:20

Registration #:
Service Request #: 1-624698228
Priority: Routine Application Date: June 29, 2011 02:18:56 PM

Note to C_O.: 'fliis is the first application submitted by this author as copyright claimant Previous registration number:
Registration Number: TX0007329315. Year ofrcgistration: 2011-03-31

 

Correspondent

Name: Alexandre Siniouguine
Email: sasha.la@gmail.com Telephone: 323-788-0902

Address: 801 N. Fairfax Ave PHZ
Los Angeles, CA 90046 United States

Mai| Certificate

 

Alexandre Siniouguine
801 N. Fairfax Ave PHZ
Los Angeles, CA 90046 United States

Case 2:11-cV-06113-.]FW-AGR Document 1 Filed 07/25/11 Page 17 of 22 Page |D #:21

Exhibit B

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~~~~~~~~~~ Forwarded message ~~--»~~*-~
From: Copyright Office <cop-rc@loc.gov>
Date; Wed, Jun 29, 2011 at 11:18 AM
Subject: Acknowledgement of Receipt

To: sasha.la@gmail.com

THIS IS AN AUTOMATED EMAIL ~ DO NOT REPLY.

Thank you for submitting your registration claim using the electronic Copyright Office
(eCO) System. This email confirms that your application and fee for the work eCommerce
Framework was received on 06/29/2011. The following applies to registration claims only
(not

preregistrations):

The effective date of registration is established when the application, fee AND the
material being registered have been received.

If you have not yet sent the material to be registered, logon to eCO and click the blue
case number associated with your claim in the Open Cases table, then do one of the
following:

For digital uploads: Click the Upload Deposit button at the top of the Case Summary
screen, then browse and select the file(s) you wish to upload. Note: only certain classes
of works may be registered with digital deposits (See FAQs:
http://www.copyright.gcv/eco/faq.html#e€©_l.4}.

For hardcopy submissions: Click the Create Shipping Slip button at the top of the Case
Summary screen, then click the Shipping Slip link that appears in the Send By Mail table.
Print out and attach the shipping slip to the oopy(ies) of your work. For multiple works,

be sure to attach shipping slips to the corresponding copies.

A printable copy of the application will be available within 24 hours of its receipt. To
access the application, click the My Applications link in the left top most navigation
menu of the Home screen.

 

You will be issued a paper certificate by mail after the registration has been completed.
You may check the status of this claim via eCO using this number 11»6246982281.

[THREAD ID: l-AEECBR]

United States Copyright Office

 

 

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UNITED STATES DISTRICT C()URT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge John F. Walter and the assigned discovery
l\/Iagistrate Judge is Alicia G. Rosenberg.

The case number on all documents filed With the Court Should read as follovvs:

cv11- 6113 JFw (AGRx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be Served with the summons and complaint on all defendants (lf a removal action is
flled, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be flled at the following location:

[X] Western Division |'___] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UNlTED STATES l\/|AG|STRATE JUDGE FOR DlSCOVERY

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Name & Address:

Michael D. Anderson, Esq. [SBN 194493]
mda@a-a-law.com

Anderson & Associates

140 S. take Avenue, Suite 372
Pasadena, CA 91 101

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ALEXANDRE SINIOUGUINE, individually, CASE NUMBER

PLAINTIFF(s)

 

V.

 

MEDIACHASE, LT,D., a Delaware corporation;

CHRIS LUTZ, individually; JUL[E MAGBOJOS,

individually; and DOES 1 throughl O, inclusive
DEFENDANT(S).

SUMMONS

 

 

TO; DEFENDANT(S); MEDIACHASE, LTD., a Delaware corporation; CHRIS LUTZ, individually;
JULIE MAGB()JOS, individually; and DOES l through l.(), inclusive

A lawsuit has been filed against you.

Within 21 days alter service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached Mcomplaint l:l amended complaint
l:l counterclaim El cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiffs attorney, Mi€ha€l D- Arld€rSOrl, ESQ. . whose address is
140 S. Lake Avenue, Suite 372, Pasadena, CA 91101 _ [fyou fail to do 50,

judgment by default will be entered against you for the relief demanded in the complaint You also must file
your answer or motion with the court.

Clerk, U.S. District Court

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Dated: By: 5 55 § ij
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(Seal ofthe C()urt)

 

[US€ 60 days if the defendant is the Uniled States or a United Stales agency or is an officer or employee oft/1a United States A//owed
60 days by Ru/e /2(¢7) (3)].

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CV-O l /\ ('l 2/'07) Sll)l§l()NS

Case 2:11-c\/- -06113- .]FW- AGR Document 1 Filed 07/25/11 Page 21 of 22 Page |D #: 25
UNITED sTATEs DISTRICT CouRT, CENTRAL DISTRICT oF CALIFoRNlA

 

CIVIL COVER SHEET
I(a)?PLAINTIFFS (Checl< box ifyou are representing yourself 13) DEFENDANTS
ALEXANDR_E SINIOUGUINE, individually MEDIACHASE, LTD., a Delaware Corporatlon

CHRIS LUTZ, individually;
JULIE MAGBOJOS, individually', and DOES 1 through 20, inclusive

 

(b) Attomeys (Firm Name, Address and Telephone Nurnber. lfyou are representing Attomeys (lf Kno\vn)
yourself, provide same.)

Michael D_ Anderson, Esq [SBN 194493]
140 S. Lal<e Avenue, Suite 372

 

 

Pasadena, CA 91 101 email: mda@a-a law corn
II. BASIS OF JURISDICTION (Place an X in one box only.) III. CITIZENSHIP OF PRlNClPAL PARTIES » For Diversity Cases Only
(Place an X in one box for plaintiffand one for defendant.)

13 l U.S_ Government Plaintiff 913 Federal Question (U.S. PTF DEF PTF DEF

Govemment Not a Party) Citizen ofThis State 13 1 13 l lncorporated or Principal Place [] 4 13 4
ofBusiness in this State

El 2 U.S_ Government Defendant 13 4 Diversity (lndicate Citizenship Citizen ofAnother State 13 2 [11 2 incorporated and Frincipal Place 13 5 [:l 5

ofParties in Item IlI) of Business in Another State
Citizen or Subject ofa Foreign Country 13 3 [:1 3 Foreign Nation 13 6 13 6

 

 

IV. ORIGIN (Place an X in one box only.)

U{l Griginal Cl 2 Removed from E 3 Remanded from Cl 4 Reinstated or 13 5 Transferred from another district (specify): 13 6 Multi- Cl 7 Appeal to District

Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: 13 Yes 13 No (Check ‘Yes’ only if demanded in complaint')

CLASS ACTION under F.R.C.P. 23: 111 Yes 1!(No 13 MONEY DEMANDED IN COMPLAINT: S

VI. CAUSE ()F ACTION (Cite the U`S, Civil Statute under Which you are filing and write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)
17 U.S.C.A. §§ 101, et seq. 'l`his is a claim for copyright infringement

VII. NATURE OF SUIT (Place an X in one box only.)

 

 

 

 

 

 

 

 

 

oTHER sTA'rUTEs ~_ g ~ ` _ CONTRA“CT l § f ~ ' ~ z rome "roRTs :~ 1 ` y PmsoNER ; , LAB<')Ry

l:l 400 state Reapponlrmment l:l 110 insurance PERSONAL INJURY PERSONAL , , ., PETITIONS '/ m 710 Fair Labt>r standards

13 410 Antitrust 13 120 Marine m 310 AifPlane PROPERTY 13 510 Motions to Act

13 430 Banks and Banking 13 130 Miller Act 13 315 AifP13n€ P\’°d“¢! 13 370 Other Fraud Vacate Sentence 13 720 Labor/Mgmt.

13 450 Commeree/ICC 13 140 Negotiable Instrument Liab‘my _ 13 371 Truth in Lending Habeas Corpus Relations
Rates/etc. 13 150 Recovery of U 320 ASSa“k’ L'b€l & 13 380 Other Personal 13 530 General 13 730 Labor/Mgmt.

|3 460 Deportation Overpayment & Sla“der , Property Damage 13 535 Death Penalty Reporting &

13 470 Racketeer Intluenced Enforcement of m 330 lied ,E_mployers 13 385 Property Damage 13 540 Mariclarrlus/ Disclosure Act
and Corrupt ludgment m 340 §i::::y Product Liability Other [1 740 Railway Labor Act
Organizatiorls 13 151 Medicare Act m 345 Man,ne Pmduct y BANKRUPTCY 13 550 Civil Rights [J 790 Other Labor

13 480 Consumer Credit 13 152 Recovery of Defaulted Liabmty 13 422 Appeal 28 USC 13 555 Prison Condition Litigation

13 490 Cable/Sat TV Student Loan (Exclt m 350 Mowr Vehl.c!e 158 FORFElTURE/ ' 13 791 Empl. Ret. Inc.

13 810 Selective Service Veterans) m 355 Motor V€hl~cle 13 423 Withdrawal 28 " , ' PENALT'Y ~~ Security Act

13 850 Securities/Commodities/ 13 153 Recovery of Pmduct liability USC 157 13 610 Agriculture PROPERTY RIGHTS
E)<change Overpayment of g 360 ther Personal ClVlL RIGHTS* CJ 620 Other Food & 1!(820 Copyrights

13 875 Customer Challenge 12 Veteran’s Benelits mqu 13 441 Voting Drug 13 830 Patent
USC 3410 13 160 Stockholders’ Suits g 362 personal lnjury, 13 442 Employment 13 625 Drug Relatcd [J 840 Trademark

13 890 Other Statutory Actions 13 190 Other Conl:ract Med Ma}practice 13 443 Housing/Acco- Seizure of SOCIAL SECURlTY

13 891 Agricultural Act 13 195 Contract Product 13 365 Personal lnjury. mmodations Property 21 USC 13 861 HIA (1395ff)

13 892 Economic Stabilization Liability Product Liability 13 444 Welfare 881 [3 862 Blacl< Lung (923)
Act 13 196 Franchise [jl 368 Asbestos Personal El 445 American with 13 630 Liquor Laws [] 863 DlWC/DIWW

13 893 Environmental Matters REAL PROPERTY Injury Product Disabilities ~ 13 640 R.R. & Truck (405(g))

13 894 Energy Allocation Act 13 210 Land Condemnation Liability Employment 13 650 Airline Regs 13 864 SSID Title XVI

13 895 Freedorn of Info. Act 13 220 Foreclosure lMMlGRATION 13 446 American with 13 660 Occupational E 865 RSI (405(g))

13 900 Appeal of Fee Detenni- 13 230 Rent Lease & Ejectment m 462 Nawmlil:a!i‘m Disabi|ities ~ Safety /Health FEDERAL TAX SUITS
nation Untler qural 13 240 rare to Land Applicafwn other 1:1 690 other l:l 870 Taxes (U,s, Plaintiff
Attess to insure 1:1 245 ron Proritr¢t Llabillty 13 463 H?b€a$ CO¥PHS~ 13 440 other civil or Defendant)

l:l 950 constitutionality of l::l 290 All other neal Property Ah€“ Defa{“€€, ngltts cl 371 IRs-Tltird Party 26
State Statutes 13 465 gtl;er lsmmlgrallon USC 7609

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FOR OFFICE USE ONLY: Case Number: .
AFTER COMPLETING THE FRONT SlDE OF FORM CV~'71, COMPLETE THE INF()RMATION REQUESTED BELGW.

 

 

CV-'/’l (05’08) CIVIL COVER SHEET l-"age 1 01`2

Case 2:11-cV-06113-.]FW-AGR Document 1 Filed 07/25/11 Page 22 of 22 Page |D #:26
uNITEI) sTATEs DISTRICT CoURT, CENTRAL DISTRICT oF CALIFoRNiA
CIVIL COVER SHEET

x

VIIl$(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? leo l:l Yes
Ifyes, list ease number(s);

 

Vlll(b). RELATEI) CASES: Have any cases been previously filed in this court that are related to the present case? leo Cl Yes
Ifyes, list ease number(s):

 

Civil cases are deemed related ifa previously filed case and the present case:
(Check all boxes that apply) l:l A_ Arise from the same or closely related transactions happenings, or events; or
Cl B. Call for determination ofthe same or substantially related or similar questions oflaw and fact; or
l:l C. For other reasons would entail substantial duplication oflabor if heard by dili`erentjudges; or
[] D. lnvolve the same patent, trademark or copyright7 a_r_i_d one of the factors identified above in a, b or c also is present

 

lX. VENUE: (When completing the following information, use an additional sheet ifnecessary.)

(a) List the County in this District; Califomia County outside ofthis District; State ifother than Calit`ornia; or Foreign Country, in which EACH named plaintiff resides
l:l Check here it`the government its agencies or employees is a named plaintiff It` this box is checked, go to item (b)i

 

County in this District:* Califomia County outside ofthis District; State, if other than Califomia; or Foreign Country

 

Alexandre Siniouguine - Los Angeles County

 

 

 

(b) List the County in this District; Califomia County outside ofthis District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides_
l:l Check here if the government its agencies or employees is a named defendant If this box is checked, go to item (c)i

 

County in this District:* California County outside ofthis District', State, if other than California; or Foreign Country

 

Medicachase, Ltd. - Los Angeles County
Chris Lutz - Los Angeles County
Julie Magbojos - Los Angeles County

 

(c) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: ln land condemnation cases, use the location of the tract ofland involved.

 

County in this District:* Calif`omia County outside of this District; State, if other than California; or Foreign Country

 

Copyright Infringement ~ Los Angeles County

 

 

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an%arbara, or San Luis Obispo Counties
an nvolved t..

 

     
  
  

* Los Angeles, Orange, San Bernardino, Riverside, Ventur

Note: ln land condemnation cases use the location of the tr

X. sIGNA'ruRE oF ATToRNEY (oR PRo PER): , . ,,,V,, pate July “2, 2011
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Notice to Counsel/Parties: The CV~7l (JS~44) CA{ over Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law. This form1 approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed

but is used by the Clerk of the Court for the purpose ofstatistics, venue and initiating the civil docket sheet (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature ofSuit Code Abbreviation Substantive Statement of Cause of`Action

861 HIA All claims for health insurance benefits (Medicare) under Title l8, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers oi`services under the
program (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969
(30 U.S_C. 923)

863 DlWC All claims filed by insured workers f`or disability insurance benefits under Title 2 ofthe Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability (42 U.S,C. 405(§))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 ofthe Social Sccurity
Act, as amended (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Sccutity
Act7 as amended

865 RSI All claims for retirement (old age) and survivors benefits under 'l`itle 2 ofthe Social Security Aet, as amended (42
U'S.C. (g))

 

CV~?l (05/03) ClVIL COVER SHEET Page 2 ot`2

 

